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                                        October 26, 2023
                                                               Document Filed Electronically
VIA ECF
The Honorable José R. Almonte
United States District Court for the District of New Jersey
United States Post Office & Courthouse
2 Federal Square
Newark, NJ 07101
               Re:     Renex NY Corp. v. Supply Depot LLC, et. Al.
                       Case No. 2:23-cv-00489-WJM-JRA
Dear Judge Almonte:
       This firm represents Plaintiff Renex NY Corp. in the above-captioned matter.
        I write on behalf of Plaintiff to request a further adjournment of the Initial Conference
currently scheduled for November 2, 2023 at 11:30 AM. Counsel for Defendants has also reviewed
and consented to this request. The Initial Conference was originally scheduled for July 10, 2023,
was initially adjourned until August 14, 2023, further adjourned to October 2, 2023, and most
recently to November 2, 2023. Such adjournments were requested to allow time for a global,
written settlement agreement to be prepared.
        The settlement documents require the parties to include certain statements of fact and law
in their stipulation of dismissal to be signed by Judge Martini. To this end, Plaintiff has been in
communication with Judge Martini’s chambers throughout this week in order to arrive at a
mutually acceptable form for filing the necessary stipulations. Accordingly, Plaintiff requests
adjournment of the Initial Conference for an additional 30 days from November 2, 2023, and
postponement of submission of a joint discovery plan as well, to allow the necessary documents
to be prepared, agreed upon and filed.
       Plaintiff will continue to keep the Court apprised of developments in connection with
settlement of this matter.
        We thank Your Honor for considering this request and for You Honor’s continued time
and attention to this matter.
                                             Respectfully submitted,

                                             LERNER DAVID LLP
                                             Attorneys for Plaintiff Renex NY Corp.

                                             By      s/ Kendall K. Gurule
                                                     Kendall K. Gurule

Cc: All Counsel of Record (via ECF)
